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in order to seek recovery from one or more applicable liability insurance policies, including, but

not limited to the CBC Policy.

       And it is further ORDERED that this Agreed Order may be filed and docketed in the

Movants' respective filed and yet-to-be-filed civil actions as evidence of this Court's ruling as to

application of bankruptcy law to a bankruptcy debtor's insurance coverage.




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